IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
CHARLESTON DIVISION

Z-Man Fishing Products, Inc. and
Holding One, Inc.

Plaintiff,

Civil Action No.: 2:10-CV-2171-CWH

Vs,
Joseph F. Renosky and Renosky Lure, Inc.,

Defendants.

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AFFIDAVIT OF JOSEPH F. RENOSKY

The undersigned, being duly sworn, states:

1. My name is Joseph F. Renosky. | am over the age of eighteen (18) years,
| have personal knowledge of the matters contained in this Affidavit, and | give this
Affidavit voluntarily and free from coercion.

2. | am the owner and operator of Renosky Lure, Inc (“Renosky Lure”).

3. | have been in the fishing lure business for over fifty (50) years. | have
designed over two hundred fifty (250) different fishing lures and | have numerous
patents issued that relate to fishing lures and fishing lure designs.

4. | have been a long-time supplier of fishing lure products to Wal-mart and
my products have generally performed well at retail.

5. The Renosky Lure brand is recognized by customers and its logo is very
distinct.

6. In March, 2006, | talked with Mr. Ron Davis, the developer of the
Chatterbait product, about placing a blade on top of a stick bait. At that time, Mr. Davis
advised me that for several years he had tried to do this but did not have success using

the Chatterbait blade.
7. Soon after my discussion with Mr. Davis in March 2006, Plaintiffs
purchased Mr. Davis’ fishing lure business.

8. In July, 2007, | delivered to Mr. Davis, now an advisor for Plaintiffs, my
blade design (the “Renosky blade”) and my stick bait lure for him to test in order to give
Plaintiffs the opportunity to decide whether Plaintiffs would endorse my Renosky blade
and stick bait.

9. Plaintiffs decided to endorse my Renosky blade and stick bait under the
name “Chatter Trickstick.”

10. On August 7, 2007, Plaintiffs placed a first purchase order with CFetter
Imports, an importer with manufacturing facilities in China, to produce a four (4) inch
stick bait to be sold by Plaintiffs in a Christmas kit featuring the Chatter Trickstick with
the Renosky blade.

11. On November 5, 2007, | filed a design patent application on the Renosky
blade.

12. Plaintiffs continue marketing my stick bait product under the name Chatter
Trickstick having the Renosky blade. In fact, Plaintiffs’ 2011 Catalog includes the
Chatter Trickstick line of products with the Renosky blade.

13. Tobe clear, the Renosky blade that Plaintiffs currently sell with the

Chatter Trickstick is the identical blade sold with my J-Will Rocker lure referred to in

Plaintiffs Complaint. —
14. | Renosky Lure and Plaintiffs combined, have sold well over 100,000 fishing

lures having the Renosky blade. And, again, Plaintiffs continue selling lures with the

Renosky blade.
15. The Plaintiffs’ blade referred to in its Complaint is an irregular hexagon. It
has six (6) sides, six (6) different lengths, and three (3) different inside angles.

16. There are at least ten (10) blades on the market that would fit in the die
that punches Plaintiffs’ blade. Those blades include Gambler (see attached Exhibit 1),
Lil’ Hustler (see attached Exhibit 2), Strike King Pure Poison (see attached Exhibit 3),
Phenix Bait - Red-BL/flake (see attached Exhibit 4), Bobby D’s (see attached Exhibit 5),
D & M Payara Vibrating Jig (see attached Exhibit 6), Fishing Magician Voo-Doo (see
attached Exhibit 7), Spro Shake & Bake (see attached Exhibit 8), Revenge Baits
Vibrator (see attached Exhibit 9) and Eaker Shaker (see attached Exhibit 10).

17. |The Renosky blade is an irregular hexagon with six (6) sides and four (4)
different lengths.

18. |The lengths and inside angles on the Renosky blade compared to
Plaintiffs’ blade are different. Attached as Exhibit 11 is a comparison of the dimensions
of Plaintiffs’ blade (Chatterblade) and the Renosky Lure’s blade (Rockerblade).

19. Asillustrated in Exhibit 11, the Renosky blade is fifteen percent (15%)
smaller than the Plaintiffs’ blade.

20. Also, the Renosky blade is different than Plaintiffs’ blade in that the
Renosky blade will make a stick bait work. As a result, | patented the shape of the
Renosky blade. Again, Plaintiffs’ blade will not work on stick bait, wnereas the Renosky
blade will.

21. —|am familiar with the fishing lure described in Plaintiffs’ U.S. Pat. No.

7,726,062, and | am well aware of its design flaws.
22. The Plaintiffs’ fishing lure has a body with a wire loop fixed within and
extending from the forward portion of the body.

23. In early 2010, | designed a fishing lure that includes a wire loop that is
movable as it pivots or slides along the forward portion of the lure body.

24. The Renosky fishing lure design has a number of advantages over the
Plaintiffs’ design. One important advantage is that the Renosky design with the
movable loop starts easier than the Plaintiffs’ fixed loop design. When | say “starts
easier’ | mean in application the blade attached to my body design begins hitting the
lure body sooner than does the blade on Plaintiffs’ fixed loop design. An advantage to
these type of lure designs is the noise caused by the blade tapping the body. The noise
attracts the fish. Again, with my movable loop design, the tapping noise starts sooner
which is an advantage.

25. | Renosky Lure has been a supplier of fishing lure products to Wal-mart for
over 25 years. Wal-mart is a large national big box retailer and the largest seller of
fishing lures in the nation.

26. Prior to 2011, Renosky Lure was the distributor of Plaintiffs’ Chatterbait
products in Wal-mart. Plaintiffs were not the supplier to Wal-mart, Renosky Lure was
the supplier and Plaintiffs were allocated space in the Wal-mart stores solely through its
distributor, Renosky Lure.

27. Based upon information and belief, starting in 2011, Maurice Sporting
Goods is the distributor of Plaintiffs’ Chatterbait products in Wal-mart. Plaintiffs are not

a supplier to Wal-mart, Maurice Sporting Goods is the supplier and Plaintiffs are
allocated space in the Wal-mart stores solely through its current distributor, Maurice
Sporting Goods.

28. There have been years when | have supplied over 100 stock-keeping
units, also referred to as pegs in Wal-mart stores.

29. ‘In 2010, on thirty-nine (39) of the pegs supplied by Renosky Lure to Wal-
mart, Renosky Lure merchandised Plaintiffs’ Chatterbait products as a distributor for
Plaintiffs. Renosky Lure also supplied over seventy (70) additional Wal-mart pegs with
products manufactured by Renosky Lure.

30. In 2010, Jim Enneking, the sporting goods buyer for Wal-mart, advised me
that Wal-mart had decided to remove Plaintiffs’ Chatterbait products from seven (7) of
the thirty-nine (39) pegs due to the poor sales or non performance of the Chatterbait line
of fishing lures. The remaining thirty-two (32) pegs in Wal-mart remain supplied with
Chatterbait products through Plaintiffs new distributor, Maurice Sporting Goods.

31. 1 did not encourage nor have any input in Wal-mart’s decision to remove
the Plaintiffs’ Chatterbait products from the seven (7) pegs.

32. The Chatterbait line of fishing lures were not removed from the seven (7)
pegs due to any actions of Renosky Lure. They were removed solely because the
products were not performing according to standards of Wal-mart.

33. | am familiar with the Fishing Gear On Sale site referenced as Exhibit C in
Plaintiff's Memorandum In Support Of Motion For Temporary Restraining Order. This
page originated from the Bass Pro Catalog, 2007 Edition.

34. | recall that in 2007 | spoke with the buyer of Bass Pro, Ron Manrose,

about this advertisement and the use of the Renosky name with Chatterbait. Mr.
@5-W2-"11 18:12 FROM-RENOSKY LURE INC. 7244633914 T-673 P@1/@1 U-955

 

Manrose advised me that he combined the names because at that time Renosky Lure
was the distributor of record for the Chatterbait products.

35. Since 2007, to my knowledge neither Bass Pro or any other marketing
source has combined the Renosky name with Chatterbait as shown in, Plaintiffs Exhitit
C. : |

36. The granting of a temporary restraining order would be devastating to
Renosky Lure’s business.

37, if Renosky Lure were required to remove its products from Wal-mart, that
would not only damage its long-time relationship with Wal-mart, but would leave
Renosky Lure with over $200,000.00 worth of product which Renasky Lure paid to have
manufactured and which was allocated to Wal-mart. |

FURHTER AFFIANT SAITH NOT.

Executed this 7-day of M A t _, 2011.

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STATE OF _Pewrruana )

) SS:
COUNTY OF _J™2/ANA_)

Before me, the undersigned, a Notary Public, residing in and for the aforesaid
county and state, personally appeared the said JOSEPH F. RENOSKY who being first
duly sworn upon his oath, did swear to the truth of the above and foregoing this aap

dayof_ /may 2014.

   

 

 

 

 

| >
My Commission Expires:.. =. (Nee (WO
FURL (EF 205 Signature of Notary Public
My County of Residence: Daw) P. Kocues
AND ri Printed Name of Notary Public
\ COMMONWEALTH OF PENNSYLVANIA

   
 

 
 

Notarial Seal
David P. Koches, Notary Public
Indiana Boro, Indiana

My Comission Expires April 18, 2025

MEMBER, PENNEYL ASSOCIATION OF NOTARIES

 
   
        

  
     
  

   
   
  
  
  
 
     
 
  
 
   

Mimic Minnow Shiner from
Northland Fishing Tackle
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es _/ Swim’n Grub from a from Roboworm
” Northland Fishing Tackle A,
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Roboworm —

The 7 1/2-inch RoboTail worm has great 4
swimming action and is ideal for enticing picky fish, ‘
It is available in nine colors, including People’s Worm,

The Pitchin’ Kraw and SourPuss are both creature bai

that differ only in the shape of their appendages.

www.roboworm.com; 877-GET-ROBO

Jerk Shad from
Northland
Fishing Tackle

 
 
 
  

 

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4” Ringworm from
Northland Fishing Tackle
SG RC

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Thumper Jig from
Northland Fishing Tackle
BES ieiies noe tent Ne

  
 

Swim Blade ff
Gambler Lure

    

- Northland Fishing Tackle

Northland is introducing several new lures in its popular
Slurpies line of soft plastic baits: Jerk Shad, Swim Shad,

Swim Shiner, Swim’n Grubs, Shiner Tubes, 4” Ring-

worm and Dip-Stick Worm. Also new are the Mimic
Minnow Shiner and M

imic Minnow Shad, as well as the
Thumper Jig. www.northlandtackle.com;
218-751-6723

Loco Lizard from
Gambler Lures

     

is Creek Chub Wooden Pikie

ee from Creek Chub
The Wooden Jointed = =

Pikie (8 inches) and Wooden

Pikie (7 inches) are made
for muskies, pike, stripers or
other large predator fish.

 

Gambler Lures q

The Swim Blade is the company’s —
answer to the Chatterbait. Also new are
the 7-inch Loco Lizard, 4-inch Tail

 

 

Chaser trailer and 8-inch Flapp’n
www.creekchub.com; Tail shad.
479-782-8971 www.gambler-lures.com;
Eat 954-969-1772
Cs
aes

 

   
 

Spinnerbait from
Heavycover.com

 

Spoon from Bitin’ Titan
a ane TRE Penal

Heavycover.com

With a Web site as innovative as its weedless Spin-
nerbait design, Heavycover.com allows you to build your
own completely customized Spinnerbait from the comfort
of your desk chair. Wwww.heavycover.com

- Bitin’ Titan Lures

Bitin’ Titan Spoons will now be availab

le with a single
red hook, Www.bitintitan.com

28 FISHING TACKLE RETAILER SEPTEMBER 2006
EXHIBIT 1
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New Products

  
      
 

\V-Crank Wake
from River2Sea

Crawlin’ Croaker
from River2Sea

S-Waver from
River2Sea

 

River2Sea
: Crawlin’ Croaker, the newest lure in the croaker
: line, has a lip that allows the lure to wobble across
: the surface. Also new from the company: Crystal
: Buzz buzzbait; S-Waver, a swimbait; the Hula Shad
: spinnerbait; and the V-Crank, V-Crank Wake

and V-Joint Minnow hard baits.

www.river2seausa.com; 510-237-2405

 

Magnum Zara Spook
from Heddon

 

Heddon

Magnum Zara Spook
(7 inches) and Super Magnum Zara Spook
: (8 inches) are wooden topwater baits for anglers
: who pursue everything from muskie to peacock bass.
: © www.heddonlures.com;
: 479-782-8971

26 FISHING TACKLE RETAILER sepTemBeR 2006

- Hula Shad
from River2Sea

 

  
  
  
  

Shaky Worm fr
Conquistador 1

Conquistador Tackle

The Shaky Worm is a hand-poured,
shaky finesse worm available in 16 colors and
designed for drop shotting with Conquistador’s
Shaky Head jig. | www.conquistadortackle.com;
602-867-5051

  
 
 

Chit Chat:
Lil’ Hustle

   

Lil’ Hustler =
Designed for fishing in and around cover, the Chit C

swimming jig is available in eight colors.
www.lilhustler.com; 603-224-8856

 

Rapala

Joining the Rapala family are the Minnow Rap, a Shad Rap
action in a minnow profile; X-Rap Deep 10, a deep-diving add
tion to the successful X-Rap series; and X-Rap 12, the largest 1
the line. New colors are also available, including a “bleeding”
series in the classic Rapala baits. Also new are the X-Rap Wall
13, X-Rap Magnum, 03 size DT (Dives-To) Flat Series and D
Flat SureSet Series. www.rapala.com; 952-933-7060

= C= X-Rap Deep

from Rapali
X-Rap Magnum
from Rapala

   
 
  
   

 

 

X-Rap Walk 13
from Rapala

X-Rap 12
from Rapz

Minnow Rap
from Rapala

 

 

EXHIBIT 2
Amazon.com: Strike King Pure Poison Extreme Action Swim'n Jig Bai... http://www.amazon.com/dp/B003CTU16E/refeasc_df B003CTUIG...

25% or more off select gifts for Mc

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Sports & Outdoors Outdoor Clothing Scooters Water Sports &Fitness Shop Sf Recreation SPOS sports —& Deals

Strike King Pure Poison Extreme Action To buy, select Size

Swim'n Jig Bait (Choose from options to the left)
by Strike King Quantity: [1
Be the first to review this item | (0)
List Price: $629.00 or
Price: $3.79 a $10.39 Sign in to turn on 1-Click ordering.
Select Size
Color: Texas Craw Share

 

Size:

0.25-Ounce 0.375-Ounce  0.5-Ounce

 

s (with zoom)

Select Color and Size to view availability (or, see the
complete pricing and availability chart.

Looking for a deal on boating and fishing
equipment? Get up to 20% off on boating

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equipment from Minn Kota.

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Strike King Bleeding Strike King Bleeding Strike King Denny Strike King Red Eye
Bait Mini-King Spinnerbait - Willow / Brauer's Premier Shad Bait by Strike King
Spinnerbait by Strike Willow by Strike King Pro-Model J... by Strike $4.08 - $10.88
King $4.67 - $9.83 King

(3) $3.15 ~$7.22
$3.35 - $6.39

Product Features
@ It's a jig, it's a spinnerbait, it's a?7Extreme Action Swimming Jig!
@ This new lure has a unique head design, blade and harness that produce incredible action and vibration.

© The Perfect Skirt with Magic Tails gives enhanced action compared to regular skirts and the colors match the head.
© A long shank premium hook ensures great hook-ups.

e The 3D eyes give a realistic appeal and the special split ring line tie is strong and secure.

1 of3 EXHIBIT 3 4/29/2011 11:23 AM
www .HookProShop.com - 00937PHENIXBAITCOREDBLFLAKE380Z _http://www.hookproshop.com/cgi-bin/commerce.cgi?preadd=action...

1 of 2

Your California Delta Hunting and Fishing Superstore

|
HOME | SPECIALS | USED GUNS

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Password:

Log In

New User? Register
Products

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BROWNING CAMO 40% OFF
BOATING

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FISHING

GIFTS

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BASS PRO SHOP

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EVENTS

TOURNAMENT

View Cart/Checkout
# of Items: 0 Nu
Subtotal: $0.00

Hover for search tip...

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| SHIPPING CONTACT ABOUT

Top >> FISHING >> BAITS >> CHATTERBAIT

00937, PHENIX BAIT CO. RED-BL/FLAKE 3/8 OZ.

 

Regular Price
HookProShop Price

Quantity

 

$5.99
$5.39

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General Info
Availability
Similar Items

PHENIX ROD & BAIT CO, VIBRATOR JIG, 3/8 OZ., RED-BLACK/FLAKE

EXHIBIT 4

4/29/2011 11:31 AM
www.HookProShop.com - 55875BOBBYDSDELTACRA W120Z Page 1 of 2

www. .FookProShop. com Np oftiems: Oy

Your California Delta Hunting and Fishing Superstore Subtotal: $0.00

SHIPPING CONTACT

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pee Weta 55875, BOBBY D'S DELTA CRAW 1/2 OZ.

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Regular Price $799

HookProShop Price $7.19

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Availability
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GRINDER, 1/2 OZ., SILVER BLADE, DELTA CRAW

 

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Tide Charts Hover for search tip... a

Sunrise Data

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EXHIBIT 5
http://www.hookproshop.com/ 7=55875 4/26/2011
Photo Gallery

1 of 2

http://www.outdoorproshop.com/PhotoGallery.asp?ProductCode=D...

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SEARCH ITEMS:

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Bass Angier Mag
Rods

Abu Garcia

Daiwa Bass Rods

Dobyns

Falcon Rods

G. Loomis Rods

iRod

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Powell

Quantum Bass Rods

Shimano

St Croix Bass Rods

Rogue Rods

W&M - Skeet Rods
Casting Reels

Abu Garcia

Daiwa

Quantum

Shimano

W&M - Skeet Reese
Spinning Reels

Daiwa

Quantum

Shimano

W&M - Skeet Reese
Soft Plastic Baits

Craws
Grubs
Creature
Jerk/Rip/Fluke
Lizards
Stick
Trailers
Tubes
Worms
Hard Plastic Baits
All Crankbaits
Shallow Cranks 1-6
Mid Cranks 6-10
Deep Cranks 10+
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Lucky Craft Specials
Rip/Jerk
Sexy-Foxy Shad Baits
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Vibrating Jigs
Frogs

Spoons

Free Priority Shipping on Orders over $50. Click For Details

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EXHIBIT 6

 

4/29/2011 11:42 AM
Fishin Magician Voo-Doo

http://www.basstackledepot.con/fishinmagicianvoo-doo.aspx

 

Accessories
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Attractants

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Buzzbaits
Crankbaits
Fishing-Lines
Frogs

Gift Certificate
Hooks - Weights
Jerk Baits

Jig / Dart / Lead - Heads
Jigs

Life Vest

Lipless Crankbaits
Livewell Treatments
Rain Gear

Reels

Rods

Scales and Culling
Soft Plastic Baits
Sonar Accessories
Spinnerbaits
Spoons - Blades
Sunglasses

Swim Jigs
Swimbaits

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Your Low Price: Starting at $6.99

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Available Colors: Select Available Colors

Available Sizes: Select Available Sizes

Quantity 14 |

The Voo-Doo bait takes the original chatterbait design to the highest level. Using the best components
available and a custom blade that gives twice the vibration, this bait will quickly become your
confidence bait.

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Bluegill

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Se . McAfee
ECURE
TESTED 23-APR
White Black/Red

 

Perch

Chartreuse/White

 

EXHIBIT 7
4/29/2011 11:46 AM
Spro Shake & Bake http://www.basstackledepot.com/sproshakeandbake.aspx

1 of 2

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Jerk Baits

Jig / Dart / Lead - Heads

Life Vest Color: Select Color

Lipless Crankbaits Size: Select Size

Rain Gear Quantity:

Reels

Scales and Culling The Spro Shake & Bake: Gary Klein's first signature series SPRO lure is the Shake and Bake rattling jig.
Soft Plastic Baits Built using the new 3/0 EWG superline double hook from Gamakatsu and a free swigning coiled trailer
Spinnerbaits “| used the Gamakatsu EWG Double for two reasons. Each arm of the hook sits outside the head of the
Spoons - Blades Jig, greatly increasing hook ups. Leaving the hook free swinging takes the leverage away from the fish
Swim Jigs period!"

Swimbaits - Gary Klein, Legendary Professional Angler

Topwater Lures

Trailers pon

Hooks - Weights Your Low Price: $6.99

Jigs

Livewell Treatments

Rods

Sonar Accessories keeper.

Sunglasses and ensures that the fish | hook, | catch. The SPRO Shake and Bake is the finest on the Market,
Tackle Storage Click Images for Larger View

Video

Specials & Closeouts os ° Ey

 

re Info

 

Chartreuse White Texas Craw

 

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Site Map —< — 4 OD Score

23-APR

Bass Tackle Videos TESTED
Pro Files White Midnight Rider
Affiliate Program Like 2 people like this. Be the first of your friends.

Product Reviews

 

Login to rate or review this product
(0 Ratings, 0 Reviews)

 

EXHIBIT 8
4/29/2011 11:48 AM
Revenge Baits Vibrator

 

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Attractants

Boat Accessories
Books - Magazines
Buzzbaits
Crankbaits
Fishing-Lines
Frogs

Gift Certificate
Hooks - Weights
Jerk Baits

Jig / Dart / Lead - Heads
Jigs

Life Vest

Lipless Crankbaits
Livewell Treatments
Rain Gear

Reels

Rods

Scales and Culling
Soft Plastic Baits
Sonar Accessories
Spinnerbaits
Spoons - Blades
Sunglasses

Swim Jigs
Swimbaits

Tackle Storage
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Video

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1 of 2

http://www. basstackledepot.com/revenge-baits-vibrator.aspx

EE SHIPPING

Peter Thliveros me tptes

 

Email this page to a friend
Your Low Price: $6.99

Select Options
Color: Select Color

Size: Select Size

Quantity a ea4]

The New Revenge Vibrator is designed to be the most versatile bladed swimjig available today. Here are
the some of the features that set our Viberators apart from the rest:

The much needed distance from the hook point to our unique shaped super strong stainless
steel blade.

We also use a 5/0 Mustad Ultrapoint spinnerbait hook on the 3/8, and 1/2o0z. sizes and a 6/0 on
the 3/4 and 10z. models.

¢ 3/4, and 10z. baits give you the advantage of getting down deep.

The Vibrator is also equipped with a large bait keeper so larger trailers can be securely held in
place.

Our realistic baitfish designed head works excellent with our custom designed silicone skirts. Or
remove the skirt and attach your favorite soft plastic swimbait body.

Tie on a Revenge Vibrator and hang on because big fish cannot resist the violent action.

 

Click Images for Larger View
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TESTED

29-APR

 

Black & Blue

Chartreuse

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Chartreuse Shad

 

Purple Metallic Shad

EXHIBIT 9 4/29/2011 11:49 AM
      
  

SIZE

  

STYLE

   
  

DESCRIPTION RETAIL

       
    
     
  
   
    
 
  
   

  

NICKEL Small Soft Plastic Baits

af

BRASS Small Soft Plastic Baits

  

Baits are not included.

       

NICKEL Small Soft Plastic Baits

   

BRASS rnall Soft Plastic Baits

 
 
     
 

NICKEL Medium Small Soft Plastic Baits

   

lGSST.

BRASS Medium Small Soft Plastic Baits

  
 
 
  
    
 
 
 
   
 
    
 
    

Medium to

  
 
  

NICKEL Soft Plastic Baits

     
 
  

 

BRASS Medium to Soft Plastic Baits

EAKER SHAKER is one of the most exciting fishing lure
accessories to ever enter the market. The EAKER SHAKER
PLUS adds flash, vibration, noise, wiggle and slows the fall
on leadhead jigs and soft plastic baits. Simple attach the
EAKER SHAKER to your jig head with a duo-snap, then cast
and retrieve. Your jigs and soft plastic baits will swim with
lifelike motion adding a whole new dimension to your fishing
arsenal. Great for fresh and saltwater fishing.

 
 

NICKEL Soft Plastic Baits

BRASS

  

Soft Plastic Baits

      

NICKEL ‘Soft Plastic Baits

  

BRASS Soft Plastic Baits

  

NICKEL Soft Plastic Baits

 
  
 
 
   
 
   
 
 
    

BRASS Soft Plastic Baits

Offshore Soft Plastic/Natural Baits

  

NICKEL

  

BRASS Offshore Soft Plastic/Natural Baits

 
  

NICKEL

  

Offshore Soft Plastic/Natural Baits

   
 

  

BRASS Offshore Soft Plastic/Natural Baits

EXHIBIT 10
 

1 : : fe 33d! T-bbs PULL U-sso
Wa-ey-' dda 24 PROM-REMUSKY LURE LNL, (eae sols

COMPARISON OF BLADES BY LENGTH
CHATTERBAIT vs ROCKERHEAD

Bottom lengths are common at 2.0 millimeters.

Other 5 sides are different

 

CHATTERBLADE | ROCKERBLADE
Bottom left and right ( 2.1 millimeter) Bottom left and right (1.4 millimeter }
Top left and right ( 2.0 millimeter ) Top left and right (2.7 millimeter )
Widest Point ( 3.0 millimeter ) , Widest Point ( 2.7 millimeters )
Top of blade ( 1.0 millimeter ) Top of Blade ( 0.5 millimeters )

Two common inside anglers and 4 different angles

Lym o, 5 wi
as . !
= %
o e =
ie o = e
c A ©
S. 3, 0AM> N o
= at (ET AM ae
Ss = £
es
LOM a Own

EXHIBIT 11
